USCA11 Case: 22-11232   Document: 25    Date Filed: 08/15/2022   Page: 1 of 53



                        Case No. 22-11232-AA


        IN THE UNITED STATES COURT OF APPEALS
               FOR THE ELEVENTH CIRCUIT

  DAVID WILLIAMS, CAROLL ANGLADE, HOWARD CLARK,
THOMAS MATTHEWS, and MARTIZA ANGELES, individually and
          on behalf of all others similarly situated
                    Plaintiffs-Appellees,

                                   v.

     RECKITT BENCKISER LLC and RB HEALTH (US) LLC,
                  Defendants-Appellees

                        THEODORE H. FRANK,
                          Objector-Appellant

            Appeal from the United States District Court
                for the Southern District of Florida
                      No. 1:20-cv-23564-MGC

RESPONSE BRIEF OF DEFENDANTS-APPELLEES RECKITT
      BENCKISER LLC and RB HEALTH (US) LLC
USCA11 Case: 22-11232   Document: 25   Date Filed: 08/15/2022   Page: 2 of 53




Charles C. Sipos                  Melissa Pallett-Vasquez
PERKINS COIE LLP                  Lori P. Lustrin
1201 Third Ave.                   BILZIN SUMBERG BAENA PRICE &
Suite 4900                        AXELROD, LLP
Seattle, WA 98101                 1450 Brickell Ave.
Telephone: (206) 359-8000         Floor 23
CSipos@perkinscoie.com            Miami, FL 33131
                                  Telephone: (305) 374-7580
David T. Biderman                 LLustrin@bilzin.com
PERKINS COIE LLP                  MPallett@bilzin.com
1888 Century Park East
Suite 1700                        Counsel for Defendants-Appellees
Los Angeles, CA 90067             Reckitt Benckiser LLC and RB Health
Telephone: (310) 788-9900         (US) LLC
DBiderman@perkinscoie.com
 USCA11 Case: 22-11232   Document: 25    Date Filed: 08/15/2022   Page: 3 of 53



          CERTIFICATE OF INTERESTED PERSONS
         AND CORPORATE DISCLOSURE STATEMENT

     Defendant-Appellees Reckitt Benckiser LLC, and RB Health (US)

LLC, pursuant to Fed. R. App. P. 26.1 and Eleventh Circuit Local Rule

28-1(b), hereby file their certificate of interested persons and corporate

disclosure statement as follows.

     Reckitt Benckiser LLC, a Delaware limited liability company, is a

wholly-owned subsidiary of Reckitt Benckiser USA (2013) LLC, a

Delaware limited liability company, which is a wholly-owned subsidiary

of RB USA Holdings LLC, a Delaware limited liability company. RB USA

Holdings LLC is a wholly-owned subsidiary of Reckitt Benckiser

(Hygiene) Holdings Limited, a private limited company registered in

England and Wales, which is a wholly-owned subsidiary of Reckitt

Benckiser Limited, a private limited company registered in England and

Wales, whose corporate parent is Reckitt Benckiser Group plc, a public

limited company organized under the laws of England and Wales. Reckitt

Benckiser Group plc has no parent corporations. As of the current date,

no shareholder owns 10% or more of Reckitt Benckiser Group plc’s stock.

     RB Health (US) LLC, a Delaware limited liability company, is a

wholly-owned subsidiary of Mead Johnson Nutrition Company, a


                                   C-1 of 3
 USCA11 Case: 22-11232    Document: 25   Date Filed: 08/15/2022   Page: 4 of 53



Delaware corporation, which is a wholly owned subsidiary of MJ USA

Holdings LLC, a Delaware limited liability company. MJ USA Holdings

LLC is a wholly-owned subsidiary of MJ UK Holdings Limited, a

company registered in England and Wales, which is a wholly-owned

subsidiary of Reckitt Benckiser (Health) Holdings Limited, a private

limited company registered in England and Wales, which is a wholly-

owned subsidiary of Reckitt Benckiser Limited, a private limited

company registered in England and Wales, whose corporate parent is

Reckitt Benckiser Group plc, a public limited company organized under

the laws of England and Wales. Reckitt Benckiser Group plc has no

parent corporations. As of the current date, no shareholder owns 10% or

more of Reckitt Benckiser Group plc’s stock.

        Pursuant to Cir. R. 28-1(b) and Cir. R. 26.1-2, Reckitt Benckiser

LLC and RB Health (US) LLC further state that the list of trial judges,

attorneys, persons, association of persons, firms, partnerships, and

corporations believed to have an interest in the outcome of this case or

appeal filed by Objector-Appellant Theodore Frank is complete.

Defendant-Appellees do not have additional parties to add to Mr. Frank’s

list.



                                  C-2 of 3
USCA11 Case: 22-11232   Document: 25   Date Filed: 08/15/2022   Page: 5 of 53



                                       /s/ Charles C. Sipos
                                       Charles C. Sipos
                                       PERKINS COIE LLP
                                       1201 Third Ave.
                                       Suite 4900
                                       Seattle, WA 98101
                                       Telephone: (206) 359-8000
                                       CSipos@perkinscoie.com

                                       David T. Biderman
                                       Perkins Coie LLP
                                       1888 Century Park East
                                       Suite 1700
                                       Los Angeles, CA 90067
                                       Telephone: (310) 788-9900
                                       DBiderman@perkinscoie.com

                                       Melissa Pallett-Vasquez
                                       Lori P. Lustrin
                                       BILZIN SUMBERG BAENA PRICE &
                                       AXELROD, LLP
                                       1450 Brickell Ave.
                                       Floor 23
                                       Miami, FL 33131
                                       Telephone: (305) 374-7580
                                       LLustrin@bilzin.com
                                       MPallett@bilzin.com

                                       Counsel for Defendants-Appellees
                                       Reckitt Benckiser LLC and RB
                                       Health (US) LLC




                               C-3 of 3
 USCA11 Case: 22-11232   Document: 25   Date Filed: 08/15/2022   Page: 6 of 53



         STATEMENT REGARDING ORAL ARGUMENT

     The district court’s decision approving the parties’ class action

settlement, which is subject to review under the abuse of discretion

standard, is thorough in its analysis and well-reasoned. The district

court’s approval of the settlement was premised on Eleventh Circuit law

and the applicable provisions of Fed. R. Civ. P. 23. Defendants Reckitt

Benckiser LLC and RB Health (US) LLC (“Reckitt”) therefore does not

believe that oral argument will be necessary to aid the decision-making

process. It would nonetheless be pleased to participate in oral argument

if this Court nonetheless believes argument would be of use.




                                    i
 USCA11 Case: 22-11232               Document: 25          Date Filed: 08/15/2022           Page: 7 of 53



                                   TABLE OF CONTENTS

                                                                                                      Page

Certificate of Interested Persons and Corporate Disclosure ................ C-1

Statement Regarding Oral Argument ........................................................ i

Table of Contents ........................................................................................ii

Table of Citations ...................................................................................... iv

Statement of Jurisdiction ......................................................................... vii

Introduction ................................................................................................ 1

Statement of the Issues .............................................................................. 3

Statement of the Case ................................................................................ 4

I.      Factual Background. ......................................................................... 4

II.     The District Court Conducted Extensive Preliminary and
        Final Approval Proceedings. ............................................................. 8

        A.       The Magistrate Judge Required the Parties to
                 Provide Extensive Briefing Regarding the
                 Proposed Class Settlement. ..................................................... 8

        B.       The Magistrate Judge Issued a Thorough R&R
                 Recommending Final Approval, Adopted in Full
                 by the District Court. ............................................................. 12

Standard of Review .................................................................................. 15

Summary of Argument ............................................................................. 16

Argument .................................................................................................. 18

I.      The District Court’s Approval of the Class Settlement Was
        Not an Abuse of Discretion. ............................................................ 18




                                                      ii
 USCA11 Case: 22-11232               Document: 25          Date Filed: 08/15/2022           Page: 8 of 53


                                   TABLE OF CONTENTS
                                       (continued)

                                                                                                      Page

        A.       The District Court Applied the Correct Legal
                 Standard to Its Review of the Settlement............................. 19

                 1.      The district court conducted a proper Rule
                         23(e)(2)(C)(ii) analysis. ................................................. 22

                 2.      The district court conducted a proper Rule
                         23(e)(2)(C)(iii) analysis. ................................................ 28

        B.       The District Court Properly Evaluated the
                 Settlement’s Injunctive Relief When Approving
                 the Settlement. ....................................................................... 30

Conclusion ................................................................................................. 37

Certificate of Compliance ......................................................................... 40

Certificate of Service ................................................................................ 41




                                                     iii
 USCA11 Case: 22-11232           Document: 25       Date Filed: 08/15/2022       Page: 9 of 53



                               TABLE OF CITATIONS

                                                                                      Page(s)
CASES

Aldana v. Del Monte Fresh Produce N.A., Inc.,
  578 F.3d 1283 (11th Cir. 2009) ............................................................ 15

Bennett v. Behring Corp.,
  737 F.2d 982 (11th Cir. 1984) ...................................................... passim

Briseño v. Henderson,
  998 F.3d 1014 (9th Cir. 2021) .................................................. 24, 27, 28

Carter v. Forjas Taurus, S.A.,
  701 F. App’x. 759 (11th Cir. 2017) ...................................................... 26

Davidson v. Kimberly-Clark Corp.,
  889 F.3d 956 (9th Cir. 2018) ................................................................ 35

Dikeman v. Progressive Exp. Ins. Co.,
  312 F. App’x 168 (11th Cir. 2008) ....................................................... 18

Faught v. Am. Home Shield Corp.,
  668 F.3d 1233 (11th Cir. 2011) ............................................................ 15

Ferron v. Kraft Heinz Foods Co.,
  2021 WL 2940240 (S.D. Fla. July 13, 2021) ............................... passim

Hanley v. Tampa Bay Sports & Ent. LLC,
  2020 WL 2517766 (M.D. Fla. Apr. 23, 2020) ...................................... 21

In re Blue Cross Blue Shield Antitrust Litig.,
   2020 WL 8256366 (N.D. Ala. Nov. 30, 2020) ...................................... 21

In re Checking Acct. Overdraft Litig.,
   2020 WL 4586398 (S.D. Fla. Aug. 10, 2020) ................................. 21, 23

In re Equifax Inc. Customer Data Sec. Breach Litig.,
   999 F.3d 1247 (11th Cir.), cert. denied sub nom. Huang v.
   Spector, 142 S.Ct. 431 (2021)................................................... 15, 20, 21



                                               iv
USCA11 Case: 22-11232             Document: 25         Date Filed: 08/15/2022        Page: 10 of 53



                                 TABLE OF CITATIONS
                                     (continued)

                                                                                            Page(s)

Jackson v. Fastenal Co.,
  2021 WL 5755583 (E.D. Cal. Dec. 3, 2021) ......................................... 24

Janicjevic v. Classica Cruise Operator, LTD.,
  2021 WL 2012366 (S.D. Fla. May 20, 2021) ....................................... 32

Leverso v. SouthTrust Bank of Ala., N.A.,
  18 F.3d 1527 (11th Cir. 1994) ........................................................ 12, 33

London v. Wal-Mart Stores, Inc.,
  340 F.3d 1246 (11th Cir. 2003) ............................................................ 16

Marty v. Anheuser-Busch Cos., LLC,
  2015 WL 6391185 (S.D. Fla. Oct. 22, 2015) ........................................ 32

Moreno v. Capital Bldg. Maintenance & Cleaning Servs.,
  Inc.,
  2021 WL 4133860 (N.D. Cal. Sept. 10, 2021) ............................... 24, 25

Morris v. US Foods, Inc.,
  2021 WL 2954741 (M.D. Fla. May 17, 2021) ................................ 21, 23

Paulus v. Real Green Sys., LLC,
  2021 WL 8946174 (S.D. Fla. Jul. 28, 2021) ........................................ 27

Poertner v. Gilette Co.,
  618 F. App’x 624 (11th Cir. 2015) ............................................... passim

SEB Inv’t Mgmt. AB v. Symantec Corp.,
  2022 WL 409702 (N.D. Cal. Feb. 10, 2022)......................................... 24

Smith v. Costa Del Mar, Inc.,
  2021 WL 4295282 (M.D. Fla. Sept. 21, 2021), appeal filed
  (No. 22-10666) ................................................................................ 21, 29

Waters v. Int’l Precious Metals Corp.,
  190 F.3d 1291 (11th Cir. 1999) ............................................................ 26

                                                   v
USCA11 Case: 22-11232              Document: 25          Date Filed: 08/15/2022         Page: 11 of 53



                                  TABLE OF CITATIONS
                                      (continued)

                                                                                              Page(s)

Wilson v. EverBank,
  2016 WL 457011 (S.D. Fla. Feb. 3, 2016) ..................................... 30, 33

RULES

Fed. R. Civ. P. 12 .............................................................................. 5, 6, 33

Fed. R. Civ. P. 23 ...................................................................... 1, 16, 21, 22

Fed. R. Civ. P. 23(e) .................................................................................. 21

Fed. R. Civ. P. 23(e)(2)...................................................................... passim

Fed. R. Civ. P. 23(e)(2)(C) ................................................................. passim

Fed. R. Civ. P. 23(e)(2)(C)(ii) ............................................................ passim

Fed. R. Civ. P. 23(e)(2)(C)(iii) ........................................................... passim

Fed. R. Civ. P. 23(h).................................................................................. 29




                                                    vi
USCA11 Case: 22-11232   Document: 25     Date Filed: 08/15/2022   Page: 12 of 53



                 STATEMENT OF JURISDICTION

     The district court had subject matter jurisdiction under the Class

Action Fairness Act, 28 U.S.C. § 1332(d)(2), because the matter below

was a class action where the amount-in-controversy exceeded $5 million

and class members were citizens of states other than the corporate

citizenship of Defendants-Appellees Reckitt Benckiser LLC and RB

Health US (LLC). Objector-Appellant Appendix (“Frank App.”), Tab No.

51 at ¶ 27.

     This Court has appellate jurisdiction pursuant to 28 U.S.C. § 1291.

Objector Frank timely filed an appeal from the district court’s order

entering final approval of the Defendants’ and Plaintiffs’ class action

settlement agreement. Frank App., Tab Nos. 140–41 (March 16, 2022,

final approval order and April 15, 2022, notice of appeal by Objector

Frank).




                                   vii
USCA11 Case: 22-11232    Document: 25    Date Filed: 08/15/2022   Page: 13 of 53



                            INTRODUCTION

     In reviewing and finally approving the parties’ class action

settlement, the district court did exactly what this Court expects: The

district court conducted a thorough approval process, closely scrutinized

key terms of the settlement, applied Eleventh Circuit precedent, and

then—in a detailed 108-page written ruling—reached a conclusion that

the deal was fair to the putative class. Nothing that the district court did,

in process or in substance, constitutes an abuse of discretion.

     The correctness of the district court’s decision is borne out by the

terms of the deal itself. The settlement between Plaintiffs-Appellees and

Defendants-Appellees Reckitt Benckiser LLC and RB Health (US) LLC

(“Reckitt”) provided a $8 million pool of funds for consumers to receive

partial—or in some cases full—refunds for their purchase of the disputed

products at issue: Reckitt’s Neuriva brain health supplements. Reckitt

also agreed to change the labeling of Neuriva, removing from the label

the phrase “Clinically Proven,” which was the principal labeling

statement objected to by Plaintiffs. And Reckitt did so even though it has

significant, competent, and reliable scientific evidence substantiating

Neuriva’s labeling. The settlement was thus overwhelmingly fair and

reasonable.

                                     1
USCA11 Case: 22-11232    Document: 25   Date Filed: 08/15/2022   Page: 14 of 53



     Objector-Appellant Ted Frank (“Frank”), the lone objector below,

nonetheless maintains that the district court abused its discretion in

approving the class settlement, principally because Plaintiffs’ counsel

received what Frank believes was a disproportionate $2.9 million fee

award. But the district court extensively evaluated this fee award,

approving it based on Eleventh Circuit law that properly considers the

value of the settlement itself—here, $8 million—when deciding whether

the amount of the requested fee is permissible.

     Frank insists this analysis did not account for class approval

standards set forth in Fed R. Civ. P. 23(e)(2)(C), which he contends the

district court “failed to evaluate.” But the district court expressly cited

the standards set forth in Rule 23(e)(2)(C) to reach its approval decision,

and substantively evaluated the notice, the process for paying claims,

and the fees awarded. Nothing in the subsections of Rule 23(e)(2)(C)(ii)

or (iii) relied on by Frank required more. And certainly no Eleventh

Circuit decision, or decision from any other Circuit, interprets these sub-

sections of the Rule to impose the per se invalidation principles Frank

asks this Court to adopt when evaluating class settlements that provide

monetary relief based on claims that class members submit.



                                    2
USCA11 Case: 22-11232    Document: 25    Date Filed: 08/15/2022   Page: 15 of 53



     Frank also objects to the district court’s consideration of the

settlement’s injunctive relief when assessing the overall fairness of the

deal to the class. Here again, the district court was following a consistent

body of law from within this Circuit holding that a labeling change

compelled by litigation is evidence that the injunction has value to the

class. But here there was more. Reckitt also submitted expert testimony

below proving up the injunctive relief’s value to Neuriva purchasers. The

district court’s reliance on the law and the evidence was likewise not an

abuse of discretion.

     The judgment of the district court should be affirmed.

                    STATEMENT OF THE ISSUES

     1.    Did the district court abuse its discretion when it approved

the parties’ class action settlement where: (a) the district court applied

Eleventh Circuit precedent establishing the standards for class

settlement approval; (b) it expressly included within that review the

factors identified in Rule 23(e)(2)(C); and (c) it articulated that reasoning

in an 108-page decision explaining its approval rationale?

     2.    Did the district court abuse its discretion when, as part of its

overall assessment of the fairness of the parties’ class settlement, it




                                     3
USCA11 Case: 22-11232   Document: 25    Date Filed: 08/15/2022   Page: 16 of 53



considered the value of injunctive relief provided by the settlement

agreement, which mandated a change to Neuriva’s labels?

                    STATEMENT OF THE CASE

I.    Factual Background.

      The litigation below concerned Reckitt’s brain health nutritional

supplement sold under the brand name Neuriva. Objector-Appellant

Appendix (“Frank App.”), Tab No. 51 at ¶ 1. Neuriva’s active ingredients

have been repeatedly shown in clinical studies to improve certain aspects

of cognitive functioning, including focus, accuracy, memory, learning, and

concentration. Defendants-Appellees’ Appendix (“Reckitt App.”), Tab

Nos. 62 at 4–14, 86 at 17–23. Neuriva was thus labeled as having

“Clinically Proven” ingredients. See, e.g., Frank App., Tab No. 51 at ¶ 9

(showing sample labels). Beginning in summer of 2020, Plaintiffs filed

putative class actions in California, New York, and the Southern District

of Florida challenging that “Clinically Proven” claim. Frank App., Tab

No. 116-1 at II.A–B. The principal allegation in each case was that

because the Neuriva products themselves had not been clinically tested—

only their active ingredients—that it was misleading under various state

consumer protection laws to label the products as “Clinically Proven.” See

id.

                                    4
USCA11 Case: 22-11232   Document: 25   Date Filed: 08/15/2022   Page: 17 of 53



     Reckitt responded vigorously, filing motions to dismiss in California

and Florida raising various defenses including lack of substantiation,

federal preemption, and failure to plausibly allege that a “reasonable

consumer” would be deceived by Neuriva’s labels. Id. at II.C–D; see also,

e.g., Reckitt App., Tab No. 39 (Motion to Dismiss in S.D. Fla. Williams

Action). Those motions were supported by the considerable underlying

science substantiating and supporting the “Clinically Proven” claim on

Neuriva’s labels. See generally id. (citing studies in concurrently filed

Request for Judicial Notice). Similar challenges to “clinically proven”

claims in cases involving dietary supplements had not survived Rule 12

motions, thus placing the actions at meaningful risk of failure at the

pleading stage. Frank App., Tab No. 133 at 80.

     Simultaneous with its defense of the actions, counsel for Reckitt

engaged in settlement discussions with Plaintiffs’ counsel regarding

potential resolution of the actions. Frank App., Tab No. 116-1 at II.F.

Ultimately, after two lengthy mediations the parties reached agreement

in January 2021 to terms of a nationwide class settlement to resolve

Plaintiffs’ claims. Reckitt App., Tab No. 47. Plaintiffs filed an amended

complaint in the district court below including as parties the named

plaintiffs from the New York and California actions, and on February 5,

                                   5
USCA11 Case: 22-11232    Document: 25     Date Filed: 08/15/2022   Page: 18 of 53



2021, Plaintiffs filed an unopposed motion for preliminary approval of

class settlement. Frank App., Tab No. 51; Reckitt App., Tab No. 52.

     Under the terms of the settlement Reckitt made available

$8,000,000 in monetary relief to the settlement class for refunds

associated with Neuriva purchases. Frank App., Tab No. 116-1 at IV.B.

Purchasers of Neuriva who provided proof of purchase could receive up

to $32.50 in refunds for each of their Neuriva purchases, up to $65.00. Id.

Class members without proof of purchase could receive up to $5.00 per

claim up to a household maximum of $20.00. Id. The settlement obligated

Reckitt to pay all claims under the $8,000,000 threshold although Reckitt

was only obligated to make payment on claims made (i.e., if the claims

submitted were below $8,000,000 Reckitt was only obligated to pay that

amount). Id.

     The settlement agreement permitted Plaintiffs’ counsel to seek fees

and expenses of up to $2.9 million, and Reckitt agreed not to contest an

attorneys’ fees request for that amount. Id. at V.A. Reckitt denies all

liability in the settlement, which was entered into to avoid the expense,

uncertainty, and distraction of further litigation. Id. at II.J.

     For processing valid claims submitted by class members, the

settlement agreement called for the establishment of a settlement

                                      6
USCA11 Case: 22-11232    Document: 25   Date Filed: 08/15/2022   Page: 19 of 53



website where claimants could submit claims electronically (i.e., online)

in addition to a mail-in process. Id. at VII. Notice of the settlement was

likewise distributed online, including through social media channels and

the establishment of the aforementioned website that was given the URL

www.RBsettlement.com. Id. Prior to final approval, the class action

administrator issued a second round of online notices. Reckitt App., Tab

No. 86-2. This additional notice was even further targeted at social media

channels where, based on the first round of notice, it appeared that

putative class members would be most likely to respond. Id.

     The settlement agreement preliminarily approved by the district

court included injunctive relief that prevented Reckitt for a period of two

(2) years from using the claim “Clinically Proven” or “Science Proved” in

the marketing and labeling of Neuriva. Id., Tab No. 52-1 at IV.A.1.

Reckitt was permitted instead to use the terms “Clinically Tested” or

“Science Tested.” Id. In the first iteration of the settlement agreement

Reckitt would have been permitted to also use the term “shown” in

connection with its labeling. Id. As ultimately agreed to in an amended

settlement agreement, however, the injunctive relief likewise prohibited

the use of the term “shown” such that Reckitt’s labeling is limited to use

of the term “Clinically Tested” or “Science Tested” in connection with

                                    7
USCA11 Case: 22-11232   Document: 25    Date Filed: 08/15/2022   Page: 20 of 53



Neuriva’s active ingredients. Frank App., Tab No. 116-1 at IV.A.1; see

also infra Argument Part I.B.

II.   The District Court Conducted Extensive Preliminary and
      Final Approval Proceedings.

      Settlement approval proceedings were referred by the district court

to the assigned Magistrate Judge. Frank App., Tab No. A. As detailed

below, those proceedings were extensive.

      A.   The Magistrate Judge Required the Parties to Provide
           Extensive Briefing Regarding the Proposed Class
           Settlement.

      On April 23, 2021, the Magistrate Judge issued an order

preliminarily approving the settlement. Id., Tab No. 57. Several days

later, however, he entered a separate order calling for the parties to

provide additional briefing and authority as to the appropriateness of the

settlement’s injunctive relief. Id., Tab No. 58. In response, Reckitt’s

submission pointed to, among other sources of information, the

overwhelming body of science supporting Neuriva’s claims of efficacy and

evidencing that Neuriva’s active ingredients had been repeatedly

“tested.” Reckitt App., Tab No. 62 at 4–14. Reckitt’s briefing was

supported by the affidavit of an independent medical expert, Dr. Gary W.




                                    8
    USCA11 Case: 22-11232   Document: 25   Date Filed: 08/15/2022   Page: 21 of 53



Small, who reviewed and concurred in the scientific literature supporting

Neuriva’s marketing claims. Id., Tab No. 62-1.

        On July 26, 2021, Frank filed an objection to the class settlement

and requested to appear at the scheduled August 17, 2021, final approval

hearing. Frank App., Tab No. 75.1 Frank objected on grounds that the

attorneys’ fees permitted under the agreement was too great in relation

to the potential class recovery, and that the injunctive relief did not

provide the class with value. Id. at 4–28. Frank was represented by

counsel the Hamilton Lincoln Law Institute’s Center for Class Action

Fairness (“CCAF”). Id. at 2. CCAF is a firm in which Frank serves as a

lawyer and Director of Litigation, with a practice focused on filing class

settlement objections. Id. Frank was the sole objector to the settlement.

See generally id., Tab No. A.

        Leading up to the fairness hearing, the Magistrate Judge issued

four intervening orders calling for further briefing pertaining to the class

settlement and its injunctive relief and attorney fee provisions. Frank


1An amicus brief was also filed by Truth in Advertising, Inc. (“TINA”),
critical of the injunctive relief and fees components of the settlement.
Frank App., Tab No. 83. The district court considered TINA’s
submissions during approval proceedings (id., Tab No. A at Dkt. Nos. 83,
92, 114, 122), and TINA has not subsequently appeared in this appeal as
amici or otherwise.

                                       9
USCA11 Case: 22-11232    Document: 25    Date Filed: 08/15/2022   Page: 22 of 53



App., Tab No. A at Dkt. Nos. 58, 84, 95–96. The parties and Frank

submitted substantial additional briefing in response to these requests.

Id. at Dkt. Nos. 61–62, 92, 98–102. The August 17 fairness hearing ran

to nearly three hours. Id. at Dkt. No. 103. Following the hearing, the

Magistrate Judge requested even further briefing, again pertaining to

the injunctive relief component of the settlement. Id. at Dkt. Nos. 105,

121, 131.

     Much of the briefing addressed whether the injunctive relief

component of the settlement ought to allow continued use of the term

“shown” in describing the scientific proof supporting the efficacy of

Neuriva’s active ingredients, in light of its agreement to refrain from the

use of the term “Clinically Proven.” Id. at Dkt. Nos. 75, 83, 100, 114, 117.

Ultimately this issue was mooted as the parties entered into an amended

settlement agreement that requires Neuriva to forego use of the term

“shown” in connection with marketing and labeling describing the

scientific proof substantiating Neuriva’s benefits and is limited instead

to use of the term “Clinically Tested.” Id. at Dkt. No. 116; see Frank App.,

Tab No. 116-1 at IV.A.1.

     Moreover, Reckitt provided substantial evidence to prove up the

value of the injunction prohibiting it from using the term “Clinically

                                    10
USCA11 Case: 22-11232   Document: 25    Date Filed: 08/15/2022   Page: 23 of 53



Proven” and instead restricting it to the use of only the term “Clinically

Tested,” without the supplemental support of “clinically shown.” Reckitt

submitted expert testimony from Dr. Punam Keller, a Ph.D. in Marketing

and chaired professor at Dartmouth’s Tuck School of Business, who

opined that Neuriva customers would recognize and understand the

difference between the term “tested” (which refers to a process) and the

term “proven” (which refers to an outcome). Reckitt App., Tab No. 98-4

at ¶¶ 26–29. Dr. Keller further opined that Neuriva consumers—which

includes class members—would recognize the distinction between a label

bearing the term “Clinically Proven,” and a revised one using the term

“Clinically Tested,” particularly because these consumers tend to be

older, wealthier, more educated, and focused on performance promotion

(as opposed to disease prevention) messaging. Id. at ¶¶ 30–40, 45.

     Reckitt likewise offered declarations from company executives

explaining that Reckitt would not have agreed to the injunction but for

the settlement, in part because it had evidence to show that “Clinically

Proven” was a more effective marketing claim than “Clinically Tested.”

Id., Tab No. 116-2. Throughout, Reckitt maintained (and maintains) that

the “Clinically Proven” claim was fully substantiated by its scientific

evidence. Id., Tab Nos. 62, 86, 98, 116. Thus, Reckitt agreed to forego a

                                   11
USCA11 Case: 22-11232    Document: 25    Date Filed: 08/15/2022   Page: 24 of 53



more impactful “Clinically Proven” claim that evidence shows is true. Id.,

Tab No. 98 at 8–10 (noting that Reckitt’s market research confirmed

consumers prefer “clinically proven” over “clinically tested”).

     B.    The Magistrate Judge Issued a Thorough R&R
           Recommending Final Approval, Adopted in Full by the
           District Court.

     At the conclusion of these proceedings, after having received

seventeen supplemental briefs in total from Reckitt, Plaintiffs, and Frank

consisting of 1,091 pages of material, the Magistrate Judge issued an

R&R on December 15, 2021, recommending final approval of the parties’

settlement.

     In a lengthy 108-page order, the Magistrate Judge’s R&R relied

extensively on Eleventh Circuit law pertaining to class settlement

approval, meticulously analyzing the agreement under the standards

established by this Court. Frank App., Tab No. 133 at 35–36 (citing

Leverso v. SouthTrust Bank of Ala., N.A., 18 F.3d 1527, 1530 n.6 (11th

Cir. 1994) and Bennett v. Behring Corp., 737 F.2d 982, 986 (11th Cir.

1984)). The district court likewise incorporated into its analysis

consideration of the factors set forth in Rule 23(e)(2). Id., Tab No. 133 at

35 n.7.




                                    12
USCA11 Case: 22-11232    Document: 25     Date Filed: 08/15/2022   Page: 25 of 53



     The Magistrate Judge conducted an analysis under Rule

23(e)(2)(C)(ii), which considers “the effectiveness of any proposed method

of distributing relief to the class, including the method of professing class

member claims,” by evaluating the $8 million in monetary relief obtained

by the class and balancing that against the risks the class would have

faced had the litigation proceeded. Id. at 40–42, 48–49, 51, 86. The

Magistrate Judge also evaluated the effectiveness of the notice program

and resulting oversight of the claims process, including how funds would

be distributed to class members. Id. at 11, 13 n.3, 27–28, 103.

     Similarly, the Court evaluated the attorneys’ fees award as

provided for under Rule 23(e)(2)(C)(iii), which looks to “the terms of any

proposed award of attorney’s fees, including timing of payment.” Id. at

86–98. Here, the Magistrate Judge evaluated the amount of fees awarded

and its relation to the overall class recovery. Id. at 86, 89–98.

     The Magistrate Judge also considered that Reckitt agreed not to

object to fees above $2.9 million and that any unawarded fees would

revert to Reckitt (characterized by Frank as “clear sailing” and “kicker”

provisions) and concluded that the settlement and its fees provisions

were negotiated at arms’ length and that they did not indicate collusion

by the parties. Id. at 36–40, 86–88. Likewise, the Magistrate Judge found

                                     13
USCA11 Case: 22-11232    Document: 25    Date Filed: 08/15/2022   Page: 26 of 53



that the proportionality of the fees award had to be judged by the $8

million in relief “made available” to the class not the amounts ultimately

claimed. Id. at 90.

     The R&R also evaluated the value of the settlement’s injunctive

relief provision, rejecting Frank’s argument that the injunction was

“worthless.” Id. at 55, 71–81. The Magistrate Judge relied on the

extensive evidence the parties, including Reckitt, submitted to prove up

the injunction’s value to the class. Id. at 61–71, 74, 79. The Magistrate

Judge did not assign a specific dollar amount to the value of the

injunction, instead accounting for it when considering the “range of

possible relief” that Plaintiffs and the putative class might have

otherwise obtained. Id. at 80, 94, 97.

     Frank objected to the R&R complaining that the Magistrate Judge

did not conduct an analysis under Rule 23(e)(2)(C), notwithstanding the

express language of the R&R stating that he had done just that. Id., Tab

No. 135. Frank’s objection also challenged the Magistrate Judge’s

evaluation of the settlement’s injunctive relief. Id. On March 16, 2022,

after reviewing the R&R de novo, the district court overruled Frank’s

objections and adopted the R&R in full as the district court’s final

approval order. Id., Tab No. 140.

                                    14
USCA11 Case: 22-11232    Document: 25    Date Filed: 08/15/2022   Page: 27 of 53



     Frank timely appealed from the district court’s final approval order.

Id., Tab No. 141.

                        STANDARD OF REVIEW

     This Court reviews a district court’s approval of class settlement for

abuse of discretion. Faught v. Am. Home Shield Corp., 668 F.3d 1233,

1240 (11th Cir. 2011). This is a deferential form of review and unless the

district court’s decision “amount[s] to a clear error of judgment we will

not reverse even if we would have gone the other way had the choice been

ours to make.” Aldana v. Del Monte Fresh Produce N.A., Inc., 578 F.3d

1283, 1288 (11th Cir. 2009); accord In re Equifax Inc. Customer Data Sec.

Breach Litig., 999 F.3d 1247, 1273 (11th Cir.), cert. denied sub nom.

Huang v. Spector, 142 S.Ct. 431 (2021) (“Equifax”)) (“Because

determining the fairness of the settlement is left to the sound discretion

of the trial court, we will not overturn its decision absent a clear showing

of abuse of that discretion.”) (cleaned up) (emphasis in original). The

abuse of discretion standard applies to review of settlement approval, in

part, because of the judicial policy favoring such settlements. Id. (“This

degree of deference to a decision approving a class settlement makes

sense. Settlements resolve differences and bring parties together for a




                                    15
USCA11 Case: 22-11232    Document: 25     Date Filed: 08/15/2022   Page: 28 of 53



common resolution. . . . Settlements also save the bench and bar time,

money and headaches.”).

     Whether the district court applied the correct legal standard in

reaching its decision on class certification is reviewed de novo. See

London v. Wal-Mart Stores, Inc., 340 F.3d 1246, 1251 (11th Cir. 2003).

                       SUMMARY OF ARGUMENT

     The district court conducted a thorough and searching review of the

parties’ class settlement. It framed that analysis according to the factors

the Eleventh Circuit directs district courts to consider under Bennett,

along with the accompanying criteria established by Rule 23(e)(2)(C).

That analysis was correct, and nothing in the district court’s extensive

review qualifies as the sort of “clear error” that would mandate reversal

and invalidation of the parties’ settlement under the deferential abuse of

discretion standard.

     Frank’s principal complaint is that the district court purportedly

did not apply Rule 23(e)(2)(C)(ii), which looks to “the effectiveness of any

proposed method of distributing relief to the class, including the method

of processing class-members claims.” Id. This assertion is baseless. The

district court did consider this aspect of Rule 23, both independently and

as part of its Bennett analysis. It concluded, correctly, that the $8 million

                                     16
USCA11 Case: 22-11232     Document: 25     Date Filed: 08/15/2022     Page: 29 of 53



in relief made available was a “valuable and timely result for the class.”

Frank App., Tab No. 133 at 51. This was buttressed by an analysis of the

notice provided to class members and the claims submission and

payment process. Id. at 11, 13 n.3, 27–28, 103. That assessment fully

satisfied Rule 23(e)(2)(C)(ii).

      The district court likewise considered the criteria embodied in Rule

23(e)(2)(C)(iii) requiring an assessment of the “terms of any proposed

award of attorneys’ fees, including timing of payment.” Here, the district

court compared the fees award to the monetary benefit made available to

the class—as Eleventh Circuit law dictates. Id. at 90–98. Under that

(correct) analysis, it concluded that the ratio between the fees’ award

($2.9M) and the total amount available for recovery ($8M) was within the

range of fees awards courts routinely approve. Id. at 90, 94, 96–97. The

district court also thoroughly reviewed the history of the parties’ dealings

and concluded that the so-called “clear sailing” and “kicker” terms of the

settlement agreement did not evidence any collusion between the parties

and was not unfair to the class. Id. at 36–40, 86–88.

      Frank’s    insistence   that   the     district   court       ignored   these

Rule 23(e)(2)(C) criteria is based largely on his subjective views of how

class settlements ought to be structured, reflected in his Opening Brief’s

                                     17
USCA11 Case: 22-11232     Document: 25     Date Filed: 08/15/2022   Page: 30 of 53



frequent reliance on hypotheticals or academic commentary. Op. Br. at

19, 34–35, 42–43. These views are not supported by the text of the Rules,

Eleventh Circuit law, or even the out-of-circuit precedent Frank

incorrectly claims stand as contrary interpretations of Rule 23(e)(2)(C)(ii)

or (iii). Regardless, it is not an abuse of discretion for the district court to

have favored established Eleventh Circuit law over Frank’s policy-driven

beliefs.

      The district court also did not abuse its discretion when it found

that the settlement’s injunctive relief had value to the class, as part of its

holistic assessment of the settlement’s overall fairness. Frank App., Tab

No. 133 at 94, 97. Here again, the district court relied on well-established

law from within this Circuit that injunctive relief in the form of

settlement-mandated labeling changes provide such value. Id. at 80–81,

85–86.

                                ARGUMENT

I.    The District Court’s Approval of the Class Settlement Was
      Not an Abuse of Discretion.

      This Court’s review of whether a district court conducted a proper

assessment of a proposed class settlement is highly deferential. Dikeman

v. Progressive Exp. Ins. Co., 312 F. App’x 168, 171 (11th Cir. 2008) (“The



                                      18
USCA11 Case: 22-11232    Document: 25    Date Filed: 08/15/2022   Page: 31 of 53



district court’s conclusion that a class settlement is fair will not be

disturbed absent a clear showing of abuse of discretion.”). Here, that

assessment was conducted using a thorough Bennett analysis, which

incorporated in substance (and expressly) the factors set forth in Rule

23(e)(2)(C) relating to settlement approval. Frank App., Tab No. 133 at

35–55, n.7.

     A.       The District Court Applied the Correct Legal Standard
              to Its Review of the Settlement.

     Frank correctly concedes that Eleventh Circuit law dictates the

application of a series of six factors when evaluating class settlements,

often referred to as the Bennett factors. Op. Br. at 14 (“The Eleventh

Circuit has long had a six-factor rest for evaluating settlement fairness.”)

(citing Bennett, 737 F.2d at 986). The Bennett factors are: “(1) the

existence of fraud or collusion among the parties in reaching the

settlement; (2) the complexity, expense, and duration of the litigation; (3)

the stage of proceedings at which the settlement was achieved and the

amount of discovery completed; (4) the probability of the plaintiffs’

success on the merits; (5) the range of possible recovery; and (6) the

opinions of class counsel, the class representatives, and the substance

and amount of opposition to the settlement.” Frank App., Tab No. 133 at


                                    19
USCA11 Case: 22-11232    Document: 25     Date Filed: 08/15/2022   Page: 32 of 53



36 (citing Bennett, 737 F.2d at 986). There is no dispute that the district

court applied these factors when it approved the parties’ settlement. Id.

at 35–55.

     Yet, Frank maintains that because the district court’s analysis was

framed by the Bennett factors it necessarily failed to conduct an analysis

under the criteria in Rule 23(e)(2)(C). Op. Br. at 15. This argument is

erroneous. It misapprehends the scope of the Bennett inquiry and

mischaracterizes what the district court did.

     As the Eleventh Circuit and courts within it hold, a court may find

a settlement “fair, reasonable, and adequate upon analyzing the Rule

23(e)(2) factors, the analysis of which are subsumed within a review of the

Bennett factors.” Ferron v. Kraft Heinz Foods Co., 2021 WL 2940240, at

*8 (S.D. Fla. July 13, 2021) (relying on Equifax, 999 F.3d at 1273)

(emphasis added). This Court’s Equifax decision likewise notes the

overlap between the Rule 23(e)(2) factors and the Bennett analysis.

Equifax, 999 F.3d at 1273 (“A class action may be settled only with court

approval, which requires the court to find the settlement ‘fair,

reasonable, and adequate’ based on a number of factors. Fed. R. Civ. P.

23(e)(2). This Court has also instructed district courts to consider several

additional factors called the Bennett factors.”).

                                     20
USCA11 Case: 22-11232    Document: 25     Date Filed: 08/15/2022   Page: 33 of 53



     Consistent with that description in Equifax, district courts within

the Eleventh Circuit have repeatedly held that a court conducting a

proper Bennett factor approval analysis necessarily incorporates into that

analysis consideration of Rule 23(e)(2). See Ferron, 2021 WL 2940240, at

*7–13; Smith v. Costa Del Mar, Inc., 2021 WL 4295282 (M.D. Fla. Sept.

21, 2021), appeal filed (No. 22-10666). (“In sum, close analysis of each of

the Bennett factors supports approval of the settlement under Rule 23

[including (e)(2)].”); Morris v. US Foods, Inc., 2021 WL 2954741, at *8–9

(M.D. Fla. May 17, 2021) (stating that the “the first two Rule 23(e)(2)

factors” [subsections (A) and (B)] were “related” to the “first Bennett

consideration,” and “the third Rule 23(e)(2) factor” [subsection (C)] had

“correlative Bennett criteria.”); In re Checking Acct. Overdraft Litig., 2020

WL 4586398, at *9–13 (S.D. Fla. Aug. 10, 2020) (conducting Rule 23(e)(2)

and Bennett analysis simultaneously); Hanley v. Tampa Bay Sports &

Ent. LLC, 2020 WL 2517766, at *3–5 (M.D. Fla. Apr. 23, 2020) (same);

see also In re Blue Cross Blue Shield Antitrust Litig., 2020 WL 8256366,

at *15 (N.D. Ala. Nov. 30, 2020) (noting Rule 23(e) has “similar approval

factors” to the Bennett factors and “[b]ecause these factors overlap, it is

appropriate to address them together”). Frank is therefore incorrect to

argue that because the district court’s analysis was conducted under

                                     21
USCA11 Case: 22-11232     Document: 25    Date Filed: 08/15/2022   Page: 34 of 53



Bennett that it failed to consider Rule 23(e)(2)(C). Op. Br. 15. The error

of Frank’s argument on this point is confirmed by the fact that his brief

does not offer a single case to support it. Id.

      Regardless, the district court did specifically cite Rule 23(e)(2)(C),

and its subfactors, as part of its analysis of the settlement’s overall

fairness. Frank App., Tab No. 133 at 35 and n.7 (recognizing that Rule

23(e)(2) factors and Bennett factors are to be considered for settlement

approval). Frank insists that the district court nonetheless “did not

assess” these Rule 23 factors but that is incorrect as well.

            1.    The District Court conducted a proper Rule
                  23(e)(2)(C)(ii) analysis.

      As to Rule 23(e)(2)(C)(ii), “the effectiveness of any proposed method

of distributing relief to the class, including the method of processing

class-member claims,” the district court first found that the parties

negotiated $8 million in monetary relief for the class—given the

complexity of claims at issue, it found “this Settlement offers the

Settlement class significant relief ‘that could very well exceed [their]

likely recovery at trial.’” Id. at 40–42, 48–49, 51 (“Thus, by way of

summary, this monetary recovery and injunctive relief—assured without

the expense, uncertainty, and delay of litigation—is a valuable and


                                     22
USCA11 Case: 22-11232    Document: 25    Date Filed: 08/15/2022   Page: 35 of 53



timely result for the Class.”). This analysis was consistent with that

undertaken by courts holding that a “fair and reasonable recovery” for

the class in light of the defendant’s defenses and “the challenging,

unpredictable    path    of   litigation”    ultimately      “satisfies    Rule

23(e)(2)(C)(ii).” In re Checking Acct. Overdraft Litig., 2020 WL 4586398,

at *12 (finding that $7.5 million cash recovery for class was “extremely

fair and reasonable recovery” and “satisfies Rule 23(e)(2)(C)(ii)”).

      The district court also considered the “method of processing class-

member claims” by evaluating both the notice and the method of

distributing payments to class members through a qualified class action

administrator. Frank App., Tab No. 133 at 11, 13 n.3, 27–28, 103. Courts

similarly find that such retention of a third-party class action

administrator “to facilitate an orderly notification and settlement

distribution method for the class members” supports a finding that the

settlement complies with Rule 23(e)(2)(C). Morris, 2021 WL 2954741, at

*9.

      Consistent with the plain language of the rule, other courts conduct

similar analyses under Rule 23(e)(2)(C)(ii) by focusing on the notice class

members receive and the process through which claims are submitted.

See Moreno v. Capital Bldg. Maintenance & Cleaning Servs., Inc., 2021

                                    23
USCA11 Case: 22-11232     Document: 25    Date Filed: 08/15/2022   Page: 36 of 53



WL 4133860, at *3 (N.D. Cal. Sept. 10, 2021) (evaluating Rule

23(e)(2)(C)(ii) by considering the notice received by the class); Jackson v.

Fastenal Co., 2021 WL 5755583, at *11 (E.D. Cal. Dec. 3, 2021) (“The

Court has also reviewed the claim form that class members must submit

and finds it to be equally clear, concise, and easy to understand.”) (Rule

23(e)(2)(C)(ii) analysis); SEB Inv’t Mgmt. AB v. Symantec Corp., 2022 WL

409702, at *4 (N.D. Cal. Feb. 10, 2022) (“The settlement notice informed

class members that they had to submit a claim form and informed them

how to do so.”). Indeed, one of Frank’s principal authorities, in dicta,

interprets Rule 23(e)(2)(C)(ii) as directed principally to the notice process.

Briseño v. Henderson, 998 F.3d 1014, 1026 n.3 (9th Cir. 2021) (explaining

that objector did not object to lack of direct notice to class but noting in

dicta that 23(e)(2)(C)(ii) is directed towards effectiveness of notice).

     Frank does not—nor did he below—point to any inadequacy in the

notice itself, how that notice was distributed, or the process for

submitting claims. On that point, the district court unmistakably

approved the notice as effective. Frank App., Tab No. 133 at n.3 (“The

Undersigned finds that the Class Notice substantially in the form

approved by the Court in its preliminary approval order was given in the

manner ordered by the Court, constitutes the best practicable notice, and

                                     24
USCA11 Case: 22-11232    Document: 25      Date Filed: 08/15/2022   Page: 37 of 53



was fair, reasonable, and adequate.”); Moreno, 2021 WL 4133860, at *3.

And it likewise approved of the parties’ use of a claim form and drew a

contrast between this settlement and unacceptable ones where claims

forms were deemed inordinately complicated. Frank App., Tab No. 133

at 50, 105. So, the substance of what the district court considered—the

notice, its effectiveness, and the use of a claim form—aligns directly with

what Rule 23(e)(2)(C)(ii) requires.

     Frank nonetheless insists that even though the language of Rule

23(e)(2)(C)(ii) refers to “proposed method[s] of distributing relief” and

“processing class members claims,” what the Rule (counter-textually)

means is that the inquiry should be on the amount of fees plaintiffs’

counsel receive in comparison to the amount of money the class

ultimately claims. Op. Br. at 31, 36. Frank thus argues it was reversible

error for the district court to have considered the $8 million “made

available” to the class and instead should have only considered the

approximate $1 million in claims submitted at the time of approval. Id.

at 31. The problem with this argument is that—in addition to being

completely unmoored from the language of the Rule—it is contrary to

Eleventh Circuit law.



                                      25
USCA11 Case: 22-11232   Document: 25    Date Filed: 08/15/2022   Page: 38 of 53



     The Eleventh Circuit, as the district court correctly observed,

allows a fee award to be evaluated based on the funds made available to

the class. Frank App., Tab No. 133 at 90 (citing Waters v. Int’l Precious

Metals Corp., 190 F.3d 1291, 1295–96 (11th Cir. 1999) and Poertner v.

Gilette Co., 618 F. App’x 624, 628 (11th Cir. 2015)). Indeed, Frank’s

insistence on evaluating only what class members “actually receive”

when assessing fairness, Op. Br. at 31 (emphasis in original), is an

assertion that has been repudiated. See Carter v. Forjas Taurus, S.A.,

701 F. App’x. 759, 767 (11th Cir. 2017) (“[The objectors] argue the

attorney’s fee should have been calculated based on the amount actually

paid to the class. But this is not required by our precedent. No case has

held that a district court must consider only the actual payout in

determining attorneys’ fees.”) (cleaned up) (quoting Waters, 190 F.3d at

1295).

     Frank attempts to discredit this body of law with the assertion that

these cases pre-date 2018 amendments to Rule 23(e)(2) and so should be

ignored or heavily discounted. Op. Br. at 32. But even after 2018, courts

have continued to apply the rule that it is the fund made available to the

class that controls, not the amount of the fund claimed. See Paulus v.

Real Green Sys., LLC, 2021 WL 8946174, at *3 (S.D. Fla. Jul. 28, 2021)

                                   26
USCA11 Case: 22-11232      Document: 25     Date Filed: 08/15/2022   Page: 39 of 53



(applying Poertner for rule that evaluation of fee award is based on “the

total fund created, even where the actual payout following the claims

process is lower”).

      Finally, the notion that the district court’s application of Rule

23(e)(2)(C)(ii) would give rise to a “circuit split,” Op. Br. at 32, is baseless.

The decision Frank principally relies on for this argument is Briseño v.

Henderson, 998 F.3d 1014 (9th Cir. 2021). Briseño does not interpret Rule

23(e)(2)(C)(ii) to suggest that courts ought to ignore the funds made

available to the putative class.

      In Briseño, the Ninth Circuit reversed approval of a putative class

action settlement. Its principal holding was that Rule 23(e)(2) applies to

class settlements regardless of whether those settlements are pre- or

post-certification. 998 F.3d at 1024 (“Nothing in the Rule’s text suggests

that this requirement applies only to pre-certification settlements.”). In

so doing, it noted that the district court failed to conduct an analysis

under Rule 23(e)(2)(C)(iii), which requires an assessment of “any

proposed award of attorneys’ fees.” Id. This discussion did not include an

analysis of Rule 23(e)(2)(C)(ii) at all. Id.

      But even as to subsection (iii), the panel did not create some sort of

per se rule that the funds made available to a class may never be

                                       27
USCA11 Case: 22-11232       Document: 25     Date Filed: 08/15/2022   Page: 40 of 53



considered when evaluating a settlement’s overall fairness. To the

contrary, it took pains to explain that its opinion should not be read to

suggest that courts should “unnecessarily meddle in class settlements

negotiated by the parties or that courts have a duty to maximize the

settlement fund for class members.” Id. at 1027. And it likewise

repudiated the notion that alleged disproportionality between the fees

awarded and what the class receives should automatically invalidate an

otherwise fair settlement. Id. (“Disproportionate fee awards, clear sailing

agreements, and kicker clauses all may be elements of a good deal.”).

Thus, it is the sound of a false alarm being rung when Frank suggests

that affirming the approval of this settlement would engender a circuit

split.

              2.    The District Court conducted a proper Rule
                    23(e)(2)(C)(iii) analysis.

         Rule 23(e)(2)(C)(iii) directs district courts to consider “the terms of

any proposed award of attorneys’ fees.” Frank maintains that the district

court did not “consider” this provision. That ignores that the district court

considered, extensively and in substance, the fee award and Frank’s

objection that it was disproportionately high and structured incorrectly.




                                        28
USCA11 Case: 22-11232    Document: 25    Date Filed: 08/15/2022   Page: 41 of 53



     The district court addressed the proposed attorney fee at length.

Frank App., Tab. No. 133 at 86–98 (applying the “percentage-of-recovery”

method, based on “total benefits made available” and granting request of

$2.9 million in fees); accord Smith, 2021 WL 4295282, at *12 (utilizing

the percentage-of-the-fund method to grant reduced fee award under

Rule 23(e)(2)(C)(iii) and 23(h)). There and elsewhere, the district court

considered Frank’s objection to the proposed fee award, specifically, that

it is “unreasonably preferential” to plaintiffs’ counsel and “out of

proportion with the class recovery” particularly in light of “clear sailing”

and “kicker” provisions—the precise points Frank complained about in

his objection to the R&R, and that he re-asserts on appeal. Frank App.,

Tab No. 135 at 11–13, 15–17; Op. Br. at 8, 22. After thorough analysis,

the district court determined that these provisions were “immaterial”

because the settlement was “negotiated at arm’s length” and “there was

no collusion,” referring to his previous finding under the first Bennett

factor. See Frank App., Tab. No. 133 at 86–88; see also id. at 36–40. This

analysis satisfied Rule 23(e)(2)(C)(iii). See Smith, 2021 WL 4295282, at

*12; Ferron, 2021 WL 2940240, at *18.

     Frank maintains that the district court’s assessment of the record

and its accompanying finding that there was no collusion between the

                                    29
USCA11 Case: 22-11232     Document: 25    Date Filed: 08/15/2022   Page: 42 of 53



parties was insufficient to approve the fee award. Op. Br. at 24. But this

is an argument Frank himself previously has presented to the Eleventh

Circuit, which this Court summarily rejected. Poertner, 618 F. App’x at

630 (“But we conclude that Frank’s self-dealing contention is belied by

the record: the parties settled only after engaging in extensive arms-

length negotiations moderated by an experienced, court-appointed

mediator.”) (overruling class settlement objection litigated by Frank

complaining of unfairness reflected by “kicker” and “clear sailing” terms

in settlement).

      B.    The    District  Court   Properly  Evaluated  the
            Settlement’s Injunctive Relief When Approving the
            Settlement.

      A settlement’s fairness should be evaluated in its entirety,

including both monetary and non-monetary benefits, and weighed

against the risks of proceeding. See Wilson v. EverBank, 2016 WL

457011, at *11 (S.D. Fla. Feb. 3, 2016) (“[C]ourts rightly consider the

value of injunctive and monetary relief together in assessing whether a

class action settlement provides sufficient relief to the class.”) (evaluating

value of injunctive relief under the “range of possible recovery” factor, one

of six factors Eleventh Circuit considers in evaluating a settlement).




                                     30
USCA11 Case: 22-11232    Document: 25    Date Filed: 08/15/2022   Page: 43 of 53



     As the Eleventh Circuit held in Poertner, injunctive relief that

requires a defendant to forego challenged labeling statements because of

the underlying litigation provides “substantial evidence” that the relief

provides benefit to the settling class. 618 F. App’x at 629 (“[W]e conclude

that the district court’s valuation of the nonmonetary relief was

supported by the record.”) (applying substantial evidence standard).

Poertner affirmed the final approval of a class settlement likewise

objected to by Frank, who had asserted that the labeling restrictions

agreed to by the defendant were “illusory” because the defendant was no

longer selling the underlying product at the time of the settlement. Id.

Even in that context, the Eleventh Circuit still concluded the injunctive

relief should be considered of value to the class, focusing on that the

litigation prompted the defendant to make the labeling change: “The

record . . . makes clear that [defendant’s] decision to stop selling and

marketing [the challenged product] with the challenged statements on

the packaging was motivated by the present litigation. Frank did not

present any contradictory evidence to the district court.” Id.

     This principle from Poertner, that a settlement-induced label

change provides value to the class for approval purposes, has been

repeatedly applied by district courts within the Eleventh Circuit. See

                                    31
USCA11 Case: 22-11232   Document: 25    Date Filed: 08/15/2022   Page: 44 of 53



Marty v. Anheuser-Busch Cos., LLC, 2015 WL 6391185, at *2 (S.D. Fla.

Oct. 22, 2015) (“Under Eleventh Circuit law, injunctive changes such as

label modifications represent a benefit to the class and should be

considered when approving a class settlement.”) (citing Poertner and

overruling objection claiming injunction offered no value); Ferron, 2021

WL 2940240, at *15 (“Lastly, the Settlement provided a value to all Class

Members in the form of the Programmatic Relief, requiring a label

change that Defendant would not have agreed to absent the

Agreement.”); Janicjevic v. Classica Cruise Operator, LTD., 2021 WL

2012366, at *1 (S.D. Fla. May 20, 2021) (“The Court finds [injunctive-

relief based] policies certainly have an important value to the class that

would not have been brought about by individual actions.”); id. at *6

(“[C]ourts rightly consider the value of injunctive and monetary relief

together in assessing whether a class action settlement provides

sufficient relief to the class.”) (applying Poertner to settlement-induced

policy changes).

     Reckitt submitted unrebutted testimony below that the injunctive

relief it agreed to—limiting itself to the term “Clinically Tested” and

foregoing “Clinically Proven” or “shown”—was the product of the

underlying litigation and Plaintiffs’ claims. Reckitt App., Tab No. 116 at

                                   32
USCA11 Case: 22-11232    Document: 25    Date Filed: 08/15/2022   Page: 45 of 53



6–8. This proves the injunctive relief’s value under Poertner. 618 F. App’x

at 629; see also Ferron, 2021 WL 2940240, at *11 (“The Court also finds

that Defendant would not have implemented the labeling changes

required by the Settlement had Plaintiff not brought this lawsuit.”).

Moreover, the injunction was agreed to despite considerable scientific

evidence and expert testimony to show that Reckitt’s “Clinically Proven”

claim was truthful and substantiated. Reckitt App., Tab No. 116 at 2–6.

And, had Reckitt prevailed in the case—which might have occurred even

at the Rule 12 stage—Plaintiffs would have received no relief at all, much

less the specific label change sought by the class. Thus, the value of the

injunctive relief here must be considered through the lens of the “range

of possible relief” that Plaintiffs might have received informed by the

“likelihood of success” in proceeding. Wilson, 2016 WL 457011, at *6 n.11

(citing Leverso, 18 F.3d at 1530 n.6).

     Frank contends that the injunction has “no settlement value”

because it purportedly is not directed towards past purchasers of

Neuriva, such that it cannot be considered for purposes of overall fairness

of the settlement. Op. Br. at 47. This argument is meritless and

contradicted by the record below, which Frank’s Brief simply ignores.



                                    33
USCA11 Case: 22-11232     Document: 25    Date Filed: 08/15/2022   Page: 46 of 53



     The settlement’s injunctive relief does benefit class members, and

Reckitt submitted evidence proving just that. Dr. Punam Keller

submitted an unrebutted declaration attesting to the effectiveness of the

injunctive relief—changing “Clinically Proven” to Clinically Tested”—by

explaining that “Neuriva consumers likely would appreciate the change

in product claims.” Reckitt App., Tab No. 98-4 at ¶ 24 (emphasis added);

see also id. ¶ 36. Dr. Keller also drew the unrebutted conclusion that the

targeted nature of the class notice, along with the expected

characteristics of Neuriva purchasers, would further increase the

likelihood those purchasers would be attuned to the injunction-based

label change. Id. ¶ 39 (“Given that 80% of actual Neuriva’s consumers

likely saw up to four communications specifically aimed at alerting these

customers that the product claim had changed, such customers are

particularly likely to appreciate and attend to such changes.”). A change

to the product’s label will allow these past purchasers of Neuriva to make

fully-informed   future    purchases,     because    the    labeling    is   now

undisputedly truthful and accurate by representing that Neuriva’s active

ingredients have been “Clinically Tested.”

     Injunctive relief in the form of label changes that allow past

purchasers to make more informed purchases in the future has been

                                     34
USCA11 Case: 22-11232    Document: 25     Date Filed: 08/15/2022   Page: 47 of 53



expressly deemed a form of injunction class members may seek. See

Davidson v. Kimberly-Clark Corp., 889 F.3d 956, 969–70 (9th Cir. 2018)

(holding that past purchasers of product have standing to seek an

injunction in class actions because absent such an injunction that

consumer “will be unable to rely on the product’s advertising or labeling

in the future, and so will not purchase the product although she would

like to”). Thus, Frank is wrong to contend that class members obtain no

value from the injunction.

     And once again, he points to no evidence supporting his conclusion

that all past Neuriva purchasers will be blind to or fail to take account of

the revised label for future purchases. Op. Br. at 39–40. Frank’s

argument on this point is instead principally rhetoric. Whereas in

support of the injunction’s value, Reckitt can point to unrebutted expert

testimony evidencing the injunction’s value. See Frank App., Tab No. 133

at 67–71, 74 (R&R relying on declarations that consumers appreciate the

difference between “clinically proven” and “clinically tested,” especially

without the supplemental use of “shown,” and that Reckitt would not

have changed its label but for this litigation).

     Frank, meanwhile, argues about the injunction’s purported

ineffectiveness with hypotheticals drawn from television sitcoms and

                                     35
    USCA11 Case: 22-11232   Document: 25    Date Filed: 08/15/2022   Page: 48 of 53



popular fiction. See Op. Br. at 43 (arguing the injunction is ineffective

based on hypothetical scenarios taken from Seinfeld and The Great

Gatsby).2

        Frank’s legal arguments regarding the district court’s treatment of

the injunction are equally meritless. Frank argues that the Court should

not have relied on the Eleventh Circuit’s decision in Poertner to support

its conclusion that the injunction, which was undisputedly the product of

the litigation, has value. Op. Br. at 50–51. But Poertner holds exactly

that: “The record . . . makes clear that [defendant’s] decision to stop

selling and marketing [the challenged product] with the challenged

statements on the packaging was motivated by the present litigation.”


2The evidence below as to the injunction’s value reached far beyond the
Keller Declaration, as the district court’s analysis of the evidence
submitted by the parties reflects. The R&R adopted by the district court
pointed to, among other sources of proof: (1) differences in the plain
meaning of the terms “proven,” “shown,” and “tested,” which has an
accompanying related effect on how “reasonable consumers” can be
expected to interpret Neuriva’s labels (Frank App., Tab No. 133 at 20, 56,
69); (2) two expert declarations two from UCLA medical expert Dr. Gary
W. Small establishing that Neuriva’s pre-settlement labeling was fully
substantiated as a matter of medical science (id. at 9, 67–71); (3) two
declarations from Rachel Sexton, Reckitt’s Innovation and Strategy
Director for the division that oversees Reckitt’s marketing, showing
Reckitt was giving up a claim it concluded had value for sales (id. at 74);
(4) and information submitted by Plaintiffs’ counsel showing that the
Settlement imposes greater labeling restrictions that those permitted by
Reckitt’s competitors in the brain health supplement space (id. at 66, 79).

                                       36
USCA11 Case: 22-11232    Document: 25     Date Filed: 08/15/2022   Page: 49 of 53



618 F. App’x 624, 629 (deeming injunction to be of value based on causal

link between the litigation and resulting injunction).

     Moreover, there can be no possible argument that the district court

overweighed the injunction’s value when issuing final approval. The

district court expressly declined to ascribe a particular dollar value to the

injunctive relief, but nonetheless concluded that the settlement was fair

since the requested fee award was only 36% of the settlement fund. Frank

App., Tab No. 133 at 97 (concluding that injunction had “some value” in

overall settlement valuation but not altering the percentage ratio

between fees and relief available to class in making approval

determination). Thus, the district court correctly considered the

substantial evidence going to the injunction’s value and weighed that

evidence using the relevant law. This was not an abuse of discretion.

                             CONCLUSION

     For all the foregoing reasons, the judgment of the district court

should be affirmed.




                                     37
USCA11 Case: 22-11232    Document: 25    Date Filed: 08/15/2022   Page: 50 of 53



Dated: August 15, 2022                   Respectfully submitted,

                                         /s/ Charles C. Sipos
                                         Charles C. Sipos
                                         PERKINS COIE LLP
                                         1201 Third Ave.
                                         Suite 4900
                                         Seattle, WA 98101
                                         Telephone: (206) 359-8000
                                         CSipos@perkinscoie.com

                                         David T. Biderman
                                         PERKINS COIE LLP
                                         1888 Century Park East
                                         Suite 1700
                                         Los Angeles, CA 90067
                                         Telephone: (310) 788-9900
                                         DBiderman@perkinscoie.com

                                         Melissa Pallett-Vasquez
                                         Lori P. Lustrin
                                         BILZIN SUMBERG BAENA PRICE &
                                         AXELROD, LLP
                                         1450 Brickell Ave.
                                         Floor 23
                                         Miami, FL 33131
                                         Telephone: (305) 374-7580
                                         LLustrin@bilzin.com
                                         MPallett@bilzin.com

                                         Counsel for Defendants-Appellees
                                         Reckitt Benckiser LLC and RB
                                         Health (US) LLC




                                    38
USCA11 Case: 22-11232    Document: 25    Date Filed: 08/15/2022   Page: 51 of 53



                 CERTIFICATE OF COMPLIANCE

     The undersigned attorney hereby certifies that this Response Brief

complies with the type-volume limitation of Fed. R. App. P. 32(a)(7)

because this brief contains 7,678 words, excluding the parts exempted by

Fed. R. App. P. 32(f) and Eleventh Circuit Rule 32-4. The undersigned

attorney also certifies that this Response Brief complies with the typeface

requirements of Fed. R. App. P. 32(a)(5) and the typestyle requirements

of Fed. R. App. P. 32(a)(6) because this Response Brief has been prepared

in a proportionally spaced typeface using Microsoft Word with Century

Schoolbook 14-point font.


                                         /s/ Charles C. Sipos
                                         Charles C. Sipos




                                    39
USCA11 Case: 22-11232    Document: 25    Date Filed: 08/15/2022   Page: 52 of 53



                    CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that on the 15th day of August, 2022, I

caused the foregoing to be electronically filed using the Court’s CM/ECF

System, thereby serving all registered users in this case by operation of

that electronic filing system, including the following individuals:

Martha Geer                              John Michael Andren
Mark R. Sigmon                           Theodore H. Frank
Patrick M. Wallace                       M. Frank Bednarz
MILBERG COLEMAN BRYSON                   HAMILTON LINCOLN LAW
PHILLIPS GROSSMAN, PLLC                  INSTITUTE
900 W. Morgan St.                        1629 K St. NW
Raleigh, NC 27603                        Suite 300
Telephone: (919) 600-5000                Washington, D.C. 20006
MGeer@milberg.com                        Telephone: (703) 203-3848
MSigmon@milberg.com                      Ted.Frank@hlli.org
PWallace@milberg.com

Jonathan Betten Cohen                    Matthew Seth Sarelson
Rachel Soffin                            DHILLON LAW GROUP, INC.
MILBERG COLEMAN BRYSON                   2100 Ponce De Leon Blvd.
PHILLIPS GROSSMAN, PLLC                  Suite 1290
800 S. Gay St.                           Coral Gables, FL 33134
Suite 1100                               Telephone: (305) 773-1952
Knoxville, TN 37929                      MSarelson@dhillonlaw.com
Telephone: (865) 247-0080
JCohen@milberg.com                       Counsel for Objector-Appellant
RSoffin@milberg.com                      Theodore H. Frank

Counsel for Plaintiffs-Appellees




                                    40
USCA11 Case: 22-11232   Document: 25    Date Filed: 08/15/2022   Page: 53 of 53



Daniel K. Bryson
WHITFIELD BRYSON LLP
900 W. Morgan St.
Raleigh, NC 27603
Telephone: (919) 600-5000
Dan@whitfieldbryson.com

Matthew D. Schultz
LEVIN PAPANTONIO RAFFERTY
316 S. Baylen St.
Suite 600
Pensacola, FL 32502
Telephone: (850) 435-7000
MSchultz@levinlaw.com

Jonathan Shub
SHUB LAW FIRM LLC
134 Kings Hwy E.
Floor 2
Haddonfield, NJ 08033
Telephone: (856)772-7200
JShub@shublawyers.com

Nick Suciu, III
BARBAT MANSOUR & SUCIU, PLLC
1644 Bracken Rd.
Bloomfield Hills, MI 48302
Telephone: (313) 303-3472
NickSuciu@bmslawyers.com

Additional Counsel for Plaintiffs-
Appellees

                                        /s/ Charles C. Sipos
                                        Charles C. Sipos




                                   41
